      Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 1 of 6




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DAMON CHARGOIS,                                   §
                                                  §
       PLAINTIFF                                  §
                                                  §
v.                                                §          CIVIL ACTION NO.: 4:21-cv-02427
                                                  §
LABATON SUCHAROW,                                 §
ERIC J. BELFI, AND                                §
CHRISTOPHER J. KELLER,                            §
                                                  §
       DEFENDANTS                                 §


            FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Damon Chargois (“Plaintiff”) files this First Amended Complaint for Declaratory

Relief against Defendants, Labaton Sucharow LLP (“Labaton”), Eric J. Belfi (“Belfi”), and

Christopher J. Keller (“Keller”) (collectively, “Labaton Defendants”) and states as follows:

                                            PARTIES

       1.      Plaintiff Damon Chargois is a citizen of the State of Texas.

       2.      Defendant Labaton Sucharow, LLP is a New York based law firm conducting

business in Houston, Texas for the purposes of the agreements making the basis of this

lawsuit. Labaton has been previously served with Plaintiff’s Original Petition and has filed its

Motion to Dismiss with this Court.

       3.      Defendant Christopher L. Keller is the Chairman and Head of Executive

Committee of Defendant Labaton Sucharow, LLP. Keller has been previously served with

Plaintiff’s Original Petition and has filed his Motion to Dismiss with this Court.




                                                 1
      Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 2 of 6




        4.        Defendant Eric J. Belfi, is a partner of Defendant Labaton Sucharow, LLP. Belfi

has been previously served with Plaintiff’s Original Petition and has filed his Motion to Dismiss

with this Court.

                                   JURISDICTION AND VENUE

        5.        Subject to and without waiving the arguments made within Plaintiff’s Motion to

Remand, the Court has personal jurisdiction over Defendants. Defendants have sufficient contacts

with this district generally and, in particular, with the events herein alleged, that each is subject to

the exercise of jurisdiction of this Court. Each Defendant have committed tortious acts within the

district and/or aimed their tortious acts towards this district with knowledge of the consequences

would be felt in this jurisdiction.

        6.        Further, venue is proper in this district under 28 U.S.C. § 1391.

                                      FACTUAL BACKGROUND

        7.        On October 2, 2017, Plaintiff Damon Chargois testified at length about the

agreement making the basis of this lawsuit. See Exhibit A. As he explained, Plaintiff Damon

Chargois was contacted by Defendant Eric Belfi in late 2006 to use his local and/or liaison counsel

services in securities litigation cases. See Exhibit A, p. 21. At the time, the Labaton Defendants

were embroiled in securities litigation in Houston, Harris County, involving HCC Holdings. The

Labaton Defendants asked Plaintiff Chargois to associated himself with the case:


             “When Eric Belfi came down…He came down to Houston I believe it was for a

             hearing in the HCC matter. We got to know each other in talking what you do,

             what do you do, what else do you do, and I told him that we had a Little Rock

             law firm…We just started talking about what else we did, and he told me that part

             of his job at Labaton was to—I don’t remember the words, but it’s along the lines



                                                    2
      Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 3 of 6




            of client development is how I understood it…” See Exhibit A “Deposition of

            Damon Chargois”, dated October 2, 2017 pg. 21-22.

       8.        As the HCC matter progressed, so too did the relationship between Plaintiff and

Belfi, individually and on behalf of Labaton, progressed. As this relationship grew, Keller was

introduced to Plaintiff, as well, and a relationship formed between Keller and Plaintiff. Plaintiff

attended the mediation and some hearings in the case:


                 “THE SPECIAL MASTER: Did you provide office space for the folks – for

                 Labaton folks when they came in?

                 THE WITNESS: I believe they used my office once, and then we went to

                 court. The other times they flew in, and I either picked ‘em up from the

                 airport and went to court, or I met them in court.” See Exhibit A “Deposition

                 of Damon Chargois”, dated October 2, 2017 pg. 25.

       9.        After a successful result in the HCC Securities Litigation, due in large

part to Chargois’ involvement, the Defendants          Belfi and     Keller   engaged    in healthy

discussions/negotiations with Plaintiff about continuing their working relationship with the

Plaintiff. During that conversation in Houston, the Defendants Belfi and Keller negotiated with

Plaintiff and eventually came to agreement that for each and every case that Damon

Chargois acted as local and/or liaison counsel in any state including, but not limited to, Texas, then

Defendant Labaton would compensate Plaintiff Chargois. The agreed compensation would

be twenty percent (20%) of all attorneys’ fees recovered for the respective case. See Exhibit A,

page 50.

       10.       As a performed under the agreement formed by Defendants Keller and Belfi,

Plaintiff introduced Defendants Keller and Belfi to multiple potential clients in multiple states,



                                                   3
      Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 4 of 6




including Texas. For example, Plaintiff set up meetings which were attended by either Belfi, Keller

or both with Texas entities such as Texas Teachers Pension Fund, Houston Municipal Employees

Pension Fund and the Houston Firefighters. Id.

       11.     The        parties’ agreement     has      been      honored and should        have

been abided by Chargois and the Labaton Defendants since 2007. Yet, Defendants Belfi and

Keller have made a habit of asking Chargois to take an amount less than agreed upon percentage.

Defendants Belfi and Keller have caused the payments to be made in the past however refuse to

cause the payments to be made currently. See Exhibit A, Pages 70-73, 152.

       12.     Plaintiff Chargois gave testimony in a judicial proceeding questioning the

legitimacy of attorneys’ fees in one the cases that were part of the Chargois & Labaton

agreement. See Exhibit A. After review, decision, and appeal, the attorneys’ fees awarded to

Labaton in that case have been finalized. As of March 12, 2021, all parties and counsel are aware

that distributions from the settlement proceeds are proper and should occur.

       13.     With the conclusion of the previous matter, Plaintiff Chargois expected to continue

receiving payments from all the Chargois & Labaton matters. With neither a cognizable nor legal

reason, Labaton Defendants, specifically Defendants Belfi and Keller, have now asserted

that Chargois is     no longer entitled to any payments            as a result of their long-

standing agreement. Accordingly, Plaintiff Damon Chargois now files this instant suit to ensure

payment for his contracted work , yet to be concluded, and previously completed work as a local

and/or liaison counsel.

                                  DECLARATORY RELIEF

       14.     The preceding paragraphs are incorporated by reference as if fully alleged herein.




                                                 4
      Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 5 of 6




       15.     An actual controversy has arisen and now exists between Plaintiff on the one hand,

and the Labaton Defendants on the other, concerning the respective rights and duties of the parties

under the agreement made between the parties.

       16.     Plaintiff contends that the Labaton is estopped from refusing to pay the agreed

upon fee for local and/or liaison counsel work for each and every case Plaintiff is involved with

Labaton on and that Belfi and Keller are estopped from causing Labaton to not pay the agreed

upon fee for local and/or liaison counsel work for each and every case Plaintiff is involved with

Labaton on.

       17.     Plaintiff seeks a declaration of the parties’ respective rights and duties under the

and requests the Court to declare the aforementioned conduct of Defendant as in violation of the

agreement made between the parties so that future controversies may be avoided.

       18.     As this is a suit for declaratory relief, Plaintiff Damon Chargois is entitled to

recover reasonable and necessary attorneys’ fees. See TEX. CIV. PRAC. & REM. CODE §37.009.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests relief and judgment against Defendant as follows:

       (a)     For a declaration that Defendant’s conduct as alleged herein is violation of the

               agreement made between the parties;

       (b)     For Plaintiff’s attorney fees and costs incurred; and

       (c)     For such other relief in law or equity as the Court deems just and proper.




                                                 5
     Case 4:21-cv-02427 Document 11 Filed on 09/13/21 in TXSD Page 6 of 6




                                    SORRELS LAW


                                    /s/ Randall O. Sorrels
                                    Randall O. Sorrels
                                    Texas Bar No. 10000000
                                    Fed ID 11115
                                    5300 Memorial Dr., Suite 270
                                    Houston, Texas 77007
                                    Tel: (713) 496-1100
                                    Fax: (713) 238-9500
                                    randy@sorrelslaw.com

                                    ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing Motion served on the attorneys

in charge for Defendants by electronic filing pursuant to the Federal Rules of Civil Procedure, on

September 13, 2021 to:


Fogler, Brar, O’Neil & Gray LLP
Murray Fogler
Robin O’Neil
2 Houston Center
909 Fannin, Suite 1640
Houston, Texas 77010
(713) 481-1010 - Telephone
(713) 574-3224 - Facsimile
mfogler@foglerbrar.com
roneil@foglerbrar.com

ATTORNEYS FOR DEFENDANTS


                                                     /s/ Randall O. Sorrels
                                                     RANDALL O. SORRELS




                                                 6
